  Case 19-30878          Doc 54          Filed 02/25/20 Entered 02/25/20 10:04:30     Desc Main
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    FILED & JUDGMENT ENTERED
           Steven T. Salata


            February 25 2020


     Clerk, U.S. Bankruptcy Court
    Western District of North Carolina
                                                                        _____________________________
                                                                                 J. Craig Whitley
                                                                          United States Bankruptcy Judge


                             UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

IN RE:
                                                               Case No. 19-30878-JCW
JUDE S. COLANGELO,                                                   Chapter 7

                              Debtor

  ORDER ON THE TRUSTEE'S OBJECTION TO CLAIM NO. 8 OF DAKSHESH PATEL,
   NARISH PATEL AND ANILA SANGHVI; CLAIM NO. 9 OF JAYESH PATEL AND
              ANIMESH PATEL; AND CLAIM NO. 2 OF MING XU

        THIS CAUSE coming on to be heard before the undersigned Judge of the Bankruptcy
Court for the Western District of North Carolina upon the TRUSTEE'S OBJECTION TO CLAIM
NO. 8 OF DAKSHESH PATEL, NARISH PATEL AND ANILA SANGHVI; CLAIM NO. 9 OF
JAYESH PATEL AND ANIMESH PATEL; AND CLAIM NO. 2 OF MING XU filed with this
Court on January 22, 2020 at Docket #48 and it appearing that due and proper notice of the
objection was given to the proper parties, and it further appearing that no responses were filed in
opposition to the Trustee’s Objection within the time allowed; and the Court having reviewed the
pleading and the Court’s file, for good cause shown it is ORDERED;

CLAIM NO. CLAIMANT                                                AMOUNT OF CLAIM
   8      Dakshesh Patel, Narish Patel,                               $385,074.10
          and Anila Sanghvi

This claim shall be disallowed as a Secured Claim and shall be allowed as a General
Unsecured Claim in the amount of $385,074.10.
CLAIM NO. CLAIMANT                                    AMOUNT OF CLAIM
    9        Jayesh Patel and Animesh Patel                  $163,023.64

This claim shall be disallowed as a Secured Claim and shall be allowed as a General
Unsecured Claim in the amount of $163,023.64.
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CLAIM NO. CLAIMANT                                    AMOUNT OF CLAIM
    2        Ming Xu                                         $66,632.95
This claim shall be disallowed as a Secured Claim and shall be allowed as a General
Unsecured Claim in the amount of $66,632.95.

This Order has been signed electronically.            United States Bankruptcy Court
The Judge’s signature and Court’s seal
appear at the top of the Order.
